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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

    UNITED STATES OF AMERICA

    v.                                          Case No.:   3:12-cr-118-J-32PDB

    TIMOTHY ERIC ALSTON
                                            /

                                       ORDER

          This case is before the Court on Defendant Timothy Eric Alston’s “Motion

    to Suspend Under 21 U.S.C. § 862(c), Amend and Correct Sentence” (Doc. 167,

    Motion to Suspend), Amended “Motion to Suspend Under 21 U.S.C. § 862(c),

    Amend and Correct Sentence” (Doc. 168, Amended Motion to Suspend), and

    “Motion for Relief Pursuant to Federal Rule of Criminal Procedure 60(b), (d)

    and Applicable Subsections and Law” (Doc. 169, Rule 60 Motion).

          Defendant was convicted of attempted possession of marijuana with

    intent to distribute and possession of a firearm by a convicted felon. (Doc. 107,

    Amended Judgment). On January 16, 2014, the Honorable Paul Huck, United

    States District Judge, sentenced Defendant to a total term of 92 months in

    prison, followed by a three-year term of supervised release. (Id.). The Amended

    Judgment states that Defendant is “[p]ermanently ineligible for all federal

    benefits” under 21 U.S.C. § 862. (Id. at 7). The Court also ordered forfeiture of

    $5,721.00 in currency, pursuant to 21 U.S.C. § 853. (Doc. 124). Defendant


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    appealed his convictions on the ground that the Court erroneously denied his

    motion to suppress evidence, but the Eleventh Circuit Court of Appeals

    affirmed. United States v. Alston, 598 F. App’x 730 (11th Cir. 2015). The Court

    later denied Defendant’s motion under 28 U.S.C. § 2255 to vacate sentence,

    which he did not appeal. (See Doc. 176, Order Denying § 2255 Motion).


        I.     Motion to Suspend and Amended Motion to Suspend


             In the Motion to Suspend and Amended Motion to Suspend, Defendant

    contends he was wrongfully deemed permanently ineligible for federal benefits

    under 21 U.S.C. § 862(a). 1 He asserts that the conviction for attempted

    possession of marijuana with intent to distribute does not qualify as a

    distribution offense under § 862(a) 2, and that he does not have two other

    convictions for a distribution offense. Alternatively, Defendant contends that he



    1      Under § 862(a)(1)(C), “[a]ny individual who is convicted of any Federal or State offense
    consisting of the distribution of controlled substances shall … upon a third or subsequent
    conviction for such an offense be permanently ineligible for all Federal benefits.”
           The term “Federal benefit” “means the issuance of any grant, contract, loan,
    professional license, or commercial license provided by an agency of the United States
    or by appropriated funds of the United States.” Id., § 862(d)(1)(A). The denial of
    Federal benefits “does not include any retirement, welfare, Social Security, health,
    disability, veterans benefit, public housing, or other similar benefit, or any other
    benefit for which payments or services are required for eligibility.” Id., § 862(d)(1)(B).

    2      Defendant may be correct in this regard. In United States v. Williams, the
    Eleventh Circuit Court of Appeals held that a conviction for possession of a controlled
    substance with intent to distribute does not qualify as a distribution offense under 21
    U.S.C. § 862(a). 541 F.3d 1087, 1090–91 (11th Cir. 2008). As explained below, however,
    this error cannot be challenged collaterally, although the Court can provide other relief
    under Fed. R. Crim. P. 36 and 21 U.S.C. § 862(c).


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    qualifies either to have his ineligibility waived under § 862(b) or to have his

    period of ineligibility suspended under § 862(c). Defendant further argues that

    the forfeiture of $5,721.00 and other property was unlawful, and that the Court

    miscalculated his sentencing guidelines range.

          According to the Presentence Investigation Report (PSR), the Probation

    Office recommended that Defendant was ineligible for federal benefits for up to

    10 years following the conviction because this was his second drug distribution

    offense. (PSR at ¶ 92) (citing 21 U.S.C. § 862(a)(1)(B)). Defendant did not object

    to that statement. (See Addendum to PSR; Doc. 95, Objections to PSR). The

    matter was not discussed further at the sentencing hearing. (See Doc. 125,

    Sentencing Transcript). Nevertheless, both the Judgment (Doc. 99) and

    Amended Judgment (Doc. 107) stated that Defendant was permanently

    ineligible for federal benefits. This unexplained discrepancy appears to have

    been a clerical error. See United States v. Bonner, 522 F.3d 804, 808-09 (7th

    Cir. 2008) (judgment’s mistaken inclusion of lifetime ban on federal benefits

    was a clerical error that district court could correct under Fed. R. Crim. P. 36).

          Under the Federal Rules of Criminal Procedure, “[a]fter giving any notice

    it considers appropriate, the court may at any time correct a clerical error in a

    judgment, order, or other part of the record, or correct an error in the record

    arising from oversight or omission.” Fed. R. Crim. P. 36. The Court liberally

    construes Defendant’s pro se Motion to Suspend and Amended Motion to


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    Suspend as a motion to correct a clerical error under Fed. R. Crim. P. 36 – at

    least insofar as the Amended Judgment’s lifetime ban on federal benefits

    conflicts with the unobjected to 10-year ban stated in the PSR. Given the nature

    of the error and the filing of Defendant’s Motion to Suspend and Amended

    Motion to Suspend, the Court finds that issuing further notice is unnecessary

    before the Court acts. The Court will grant the motions to the extent the lifetime

    ban on federal benefits is converted to a 10-year ban dating from the conviction.

          However, Defendant cannot collaterally attack the finding that he is

    ineligible for federal benefits for 10 years, the forfeiture of $5,721.00, or the

    calculation of his guidelines range – which are not mere clerical errors. 3 Such

    challenges can, and should, be raised on direct appeal. United States v. Bane,

    948 F.3d 1290, 1294 (11th Cir. 2020) (holding that defendants’ “failure to

    challenge their forfeiture judgments on direct appeal means they cannot

    challenge them” collaterally); see also Williams, 541 F.3d at 1090-91 (defendant

    raising challenge to lifetime ban on federal benefits on direct appeal); Spencer

    v. United States, 773 F.3d 1132, 1138-41 (11th Cir. 2014) (en banc) (a

    misapplication of the guidelines is not cognizable on collateral review).



    3     To the extent Defendant challenges the forfeiture of other property to state
    authorities, this Court cannot grant relief. See United States v. Cobb, 703 F. App’x
    879, 882–83 (11th Cir. 2017) (affirming denial of equitable relief to federal criminal
    defendant defendant concerning seized vehicles because he “made no argument that
    it was the federal government, as opposed to the Tampa Police Department, that
    released and/or auctioned the vehicles.”).


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    Defendant did not challenge the denial of federal benefits, forfeiture, or the

    guidelines calculation on direct appeal, choosing instead to raise a suppression

    issue. Alston, 598 F. App’x at 731. Defendant also stipulated in open court to

    the forfeiture of $5,721.00. (See Doc. 87, Motion for Entry of Preliminary Order

    of Forfeiture at 2). Defendant cannot overcome the default because the alleged

    errors are not jurisdictional and he has not demonstrated cause and prejudice.

    See Bane, 948 F.3d at 1294-97.

          Nevertheless, Defendant may seek to have the period of ineligibility for

    federal benefits suspended under § 862(c). District courts have jurisdiction to

    grant such motions. United States v. Mack, No. 2:04-cr-49-FtM-29SPC, 2018

    WL 564547, at * 2–3 (M.D. Fla. Jan. 26, 2018). Under § 862(c),

          The period of ineligibility referred to in subsections (a) and (b) shall
          be suspended if the individual—
                (A) completes a supervised drug rehabilitation
                    program after becoming ineligible under this
                    section;

                (B) has otherwise been rehabilitated; or

                (C) has made a good faith effort to gain admission to a
                    supervised drug rehabilitation program, but is
                    unable to do so because of inaccessibility or
                    unavailability of such a program, or the inability of
                    the individual to pay for such a program.
    21 U.S.C. § 862(c).

          Defendant states that he has completed a substance abuse treatment

    program and the BOP has deemed him rehabilitated. (Doc. 168 at 3). In support,


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    Defendant submitted a certificate of completion of the Bureau of Prisons’

    (BOP’s) Non-Residential Drug Abuse Program. (Doc. 167 at 4). According to the

    BOP, “[t]his 12-week, Cognitive-Behavioral Therapy (CBT) treatment program

    is conducted primarily in a group setting. The content address[es] criminal

    lifestyles and provides skill-building opportunities in the areas of rational

    thinking, communication skills, and institution/community adjustment.” 4

    Because Defendant has submitted evidence showing that he “complete[d] a

    supervised drug rehabilitation program after becoming ineligible under this

    section,” 21 U.S.C. § 862(c)(A), the Court concludes that Defendant’s period of

    ineligibility for federal benefits should be suspended. To this extent, the Motion

    to Suspend and Amended Motion to Suspend are due to be granted as well.

    Otherwise, the motions are due to be denied.


        II.      Rule 60 Motion (Doc. 169)


              Defendant also seeks to set aside his conviction under Federal Rule of

    Criminal Procedure 60(b) and 60(d), by which he presumably means Federal

    Rule of Civil Procedure 60(b) and 60(d). 5 Defendant contends that the Assistant

    United States Attorneys who prosecuted him were not authorized to represent




    4         https://www.bop.gov/inmates/custody_and_care/substance_abuse_treatment.jsp.

    5     Fed. R. Crim. P. 60(b) pertains to victims’ rights, while Fed. R. Crim. P. 60(d)
    does not exist.


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    the United States, which deprived the Court of subject matter jurisdiction. Rule

    60(b) is a rule of civil procedure, and as such, “Fed. R. Civ. P. 60(b) does not

    apply to criminal judgments.” Ben-Ari v. United States, No. 2:16-cv-104-FtM-

    29UAM, 2019 WL 399548, at *2 (M.D. Fla. Jan. 31, 2019). In any event,

    Defendant’s claim that the Assistant United States Attorneys were not

    authorized to represent the United States is frivolous, and it has no bearing on

    the Court’s jurisdiction. Rosenfeld v. United States, No. 3:18-cv-607-J-34JRK,

    2020 WL 364179, at *9 (M.D. Fla. Jan. 22, 2020).

          Accordingly, it is hereby ORDERED:


       1. Defendant’s Motion to Suspend (Doc. 167) and Amended Motion to

          Suspend (Doc. 168) are GRANTED to the following extent: the Court

          amends the lifetime ban on federal benefits to a period of 10 years from

          the date of conviction, and the Court suspends Defendant’s period of

          ineligibility for federal benefits under 21 U.S.C. § 862(c)(A). The motions

          are otherwise DENIED.

       2. Defendant’s Rule 60 Motion (Doc. 169) is DENIED.


          DONE AND ORDERED at Jacksonville, Florida this 2nd day of

    November, 2020.




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    Copies:
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